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                     UNITED STATES DISTRICT COURT
        FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.2)
                                  Eastern Division

Jay Kay Collision Center, Inc., et al.
                                          Plaintiff,
v.                                                       Case No.: 1:24−cv−05313
                                                         Honorable Jeffrey I Cummings
CDK Global, LLC
                                          Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, February 11, 2025:


       MINUTE entry before the Honorable Jeffrey I Cummings: In light of the Court's
consolidation order, defendant's motion to dismiss [29] and motion to stay [32] are
terminated without prejudice and with leave to renew as appropriate after the filing of the
consolidated complaint. Mailed notice (cc, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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criminal dockets of this District. If a minute order or other document is enclosed, please
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